                             Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 1 of 33                    PageID #: 1
                             '
                                                                                                    FILED IN THE
                                                                                            UNITED STATES DISTRICT COURT
                                                                                                DISTRICT OF HAWAII
                                      Peter Strojnik,
                                      2375 East Camelback Road Suite 600                           FEB 13 2019
                                  2   Phoenix, Arizona 85016                                at~o'clock and 00 min.Jl_M
                                                                                                SUE BEITIA, CLERK
                                  3   Telephone: (602) 524-6602
                                      ps@strojnik.com
                                                                                                                   L.S
~                                 4   prose
    IO
    ~
                                  5
                                                                            CV19 00077s                                    KJM
~--                                                           UNITED STATES DISTRICT COURT
'
~
~
               .E
                                  6                                DISTRICT OF HAWAII
3                  ~
                   t?
                                  7                                                    Case No:
cw"
... -
?

3
                   -:::!..
                   ~
                   0
                                  8
                                       Peter Strojnik,
                                                                                                   COMPLAINT

    ...             ..
                   V\
                                  9                                                    1. Americans       with    Disabilities
'°                 ~                                                      Plaintiff,        Act
cl..                             10
                                                                                       2.   Discrimination    in  Public
                                 11                                                         Accommodations (State Law)
                                                            vs.                        3.   Nondisclosure
                                 12                                                    4.   Consumer Fraud
                                 13    ( 1)   Kapalua Land Company LTD dba             5.   Negligence per se
                                       The Kapalua Villas Maui (Defendant l );         6.   Threats 42 USC §12203 and 28
                                 14    (2) Richard Rand and Marr Jones Wang, a              CFR §36.206
                                       limited Liability Partnership (Defendant 2)
                                 15
                                                                                            JURY TRIAL REQUESTED
                                 16
                                                                       Defendants.
                                 17
                                 18   Plaintiff brings this class action pursuant to the (1) Americans with Disab ilities Act, 42
                                 19   U.S.C. § 12 101 et seq. and corresponding regul ations, 28 CFR Part 36 and ADAAG
                                      ("ADA"), (2) Chapter 489 of the Hawai'i revised statutes, Chapter 489, Discrimination

          m "'                        in Public Accommodations §§489-1 et seq ("HRS"),                    (3) Nondisclosure and
          "O -
          a> ""-                      Misrepresentation, (4) Consumer Fraud HRS Chapter 480 (5), negligence per se and (6)
          ,;:: ('i
          Q)
                                 22
          0        Q)
          Q)   -
                                 23   violation of 42 USC § 12203 and 28 CFR §36.206.
         0::   8
                                 24                                          PARTIES
                                      1. Plaintiff is an ADA Tester.
                                 25
                                      2. Plaintiff is An immigrant, a veteran of the US Army 1 and a disabled person as defined
                                 26
                                         by the ADA and HRS Chapter 489. Plaintiff is a single man currently residing in
                                 27
                                 28
                                      DMZ '72 - ' 74
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 2 of 33                PageID #: 2




   1      Maricopa County, Arizona. Plaintiff is and, at all times relevant hereto has been,
   2      legally disabled by virtue of a severe right-sided neural foraminal stenosis and femoral
   3      neuropathy, prostate cancer and renal cancer, degenerative right knee and is therefore
   4      a member of a protected class under the ADA and HRS Chapter 489.
   5   3. Plaintiff suffers from physical impairments described above which impairments
   6      substantially limit his major life activities. Plaintiff walks with difficulty and pain
   7      and requires     compliant mobility accessible features         at places of public
   8      accommodation. Plaintifrs impairment is constant, but the degree of pain is episodic
   9      ranging from dull and numbing pain to extreme and excruciating agony.
  10   4. Defendant 1 owns, operates, leases or leases to a lodging business ("Hotel") located
  11      at 2000 Village Rd., Lahaina, HI 967 61 which is a public accommodation pursuant to

  12      42 U.S.C. § 12181(7)(A).

  13   5. Defendant 2, Richard Rand and Marr Jones Wang are Hawaii's lawyer I lawfirm,

  14      respectively, who have caused the events alleged in Count one to occur in Hawaii.
       6. Defendant Richard Rand is an agent of Defendant Marr Jones Wang. Defendants
  15
          Rand and Marr Jones Wang are jointly agents of Kapalua Land Company LTD dba
  16
          The Kapalua Villas Maui.
  17
                                  JURISDICTION AND VENUE
  18
       7. District Court has jurisdiction over this case or controversy by virtue of28 U.S.C. §§
  19
          28-1331and42 U.S.C. § 12188 and 28 U.S.C. § 1367.
  20
       8. Plaintiff brings this action as a private attorney general who has been personally
  21
          subjected to discrimination on the basis of his disability, see 42 U.S.C.12188 and 28
  22      CFR §36.501.
  23   9. This Court has continuing subject matter jurisdiction by virtue of, inter alia,
  24      Plainti fr s claim for equitable nominal damages.
  25   10. Venue is proper pursuant to 28 U.S.C. § 1391.
  26   11. The ADAAG violations in this Complaint relate to barriers to Plaintiffs mobility. This
  27      impairs Plaintifrs full and equal access to the Hotel which, in turn, constitutes

  28


                                                2
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 3 of 33                PageID #: 3




   1      discrimination satisfying the "injury in fact" requirement of Article III of the United
   2      States Constitution.

   3   12. Plaintiff is deterred from visiting the Hotel based on Plaintiffs knowledge that the

   4      Hotel is not ADA or State Law compliant as such compliance relates to Plaintiffs
          disability.
   5
       13. Plaintiff intends to visit Defendant I's Hotel at a specific time when the Defendant
   6
          l's noncompliant Hotel becomes fully compliant with ADA; just as a disabled
   7
          individual who intends to return to a noncompliant facility suffers an imminent injury
   8
          from the facility's existing or imminently threatened noncompliance with the ADA, a
   9
          plaintiff who is deterred from patronizing a hotel suffers the ongoing actual   i~jury   of
  10
          lack of access to the Hotel.
  11
                                                 COUNT I
  12                    (Violation of Plaintiff's Civil Rights under the ADA)
                                      (Against Defendant 1 Only)
  13
  14   14. Plaintiff realleges all allegations heretofore set forth.
       15. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
  15
          particularly applicable to his mobility, both ambulatory and wheelchair assisted.
  16
       16.Plaintiff intended to vacation in Hawai'i and therefore, reviewed vacation booking
  17
          websites as documented in Addendum A.
  18
       17. Plaintiff became aware that third party booking websites disclosed general availability
  19
          and description of Defendant 1's Hotel. Third Party booking websites referenced here
  20
          are more fully documented in Addendum A which is by this reference incorporated
  21      herein.
  22   18. Third party booking websites failed to identify and describe mobility related
  23      accessibility features and guest rooms offered through its reservations service in
  24      enough detail to reasonably permit Plaintiff to assess independently whether
  25      Defendant l's Hotel meets his accessibility needs as more fully documented m
  26      Addendum A.

  27
  28


                                                   3
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 4 of 33                 PageID #: 4




   1   19. Third party booking websites also failed to make reservations for accessible guest
   2      rooms available in the same manner as individuals who do not need accessible rooms.

   3      See Addendum A.

   4   20. Thereafter, Plaintiffbecame aware that Defendant l's I st party booking website failed
          to identify and describe mobility related accessibility features and guest rooms offered
   5
          through its reservations service in enough detail to reasonably permit Plaintiff to
   6
          assess independently whether Defendant I's Hotel meets his accessibility needs as
   7
          more fully documented. See Addendum A.
   8
       21. Plaintiff also became aware that Defendant I 's I st party booking website failed to
   9
          make reservations for accessible guest rooms available in the same manner as
  10
          individuals who do not need accessible rooms. See Addendum A.
  11   22. Because third and first party booking agents failed to identify and describe mobility
  12      related accessibility features and guest rooms offered through its reservations service
  13      in enough detail to reasonably permit Plaintiff to assess independently whether
  14      Defendant 1's Hotel meets his accessibility needs Plaintiff declined to book a room
  15      there and because Plaintiff was unable to make reservations for accessible guest
  16      rooms available in the same manner as individuals who do not need accessible rooms,
  17      Plaintiff declined to book a room there.

  18   23. The gist of the requirement of 28CFR§28.302(e) is the requirement that a place of

  19      lodging, such as Defendant 1's Hotel, disclose both the accessible elements but, more
          importantly, inaccessible elements of the place of lodging; without a description of
  20
          inaccessible mobility elements, Defendant 1 fails to comply with 28CFR§28.302( e) as
  21
          a matter of law.
  22
       24. Defendant 1 has violated the ADA by denying Plaintiff equal access to its public
  23
          accommodation on the basis of his disability as outlined above and in Addendum A.
  24
       25. The ADA violations described in Addendum A relate to Plaintiffs disability and
  25
          interfere with Plaintiffs full and complete enjoyment of the Hotel.
  26
       26. As a result of the deficiencies described above, Plaintiff declined to book a room at
  27
          Defendant 1's Hotel.
  28
       27. The removal of accessibility barriers listed above is readily achievable.

                                                 4
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 5 of 33                 PageID #: 5




   1   28. As a direct and proximate result of ADA Violations, Defendant l's failure to remove

   2      accessibility barriers prevented Plaintiff from equal access to the Defendant 1's

   3      public accommodation.

   4   WHEREFORE, Plaintiff prays for all relief as follows:
              A. Relief described in 42 U.S.C. §2000a- 3; and
   5
              B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly-
   6
              C. Injunctive relief order to alter Defendant 1's place of public accommodation
   7
                  to make it readily accessible to and usable by ALL individuals with disabilities;
   8
                  and
   9
              D. Requiring the provision of an auxiliary aid or service, modification of a
  10
                  policy, or provision of alternative methods, to the extent required by
  11
                  Subchapter III of the ADA; and
  12          E. Equitable nominal damages; and
  13          F. For costs, expenses and attorney's fees; and
  14          G. All remedies provided for in 28 C.F.R. 36.50l(a) and (b).
  15                                          COUNT II
                           (Violation of the Hawai'i's Chapter 489, Part I)
  16
                                       (Against Defendant 1 Only)
  17
       29. Plaintiff realleges all allegations heretofore set forth.
  18
       30. Defendant 1 has violated Hawai'i's Chapter 489 Part I by denying Plaintiff equal
  19
          access to its public accommodation on the basis of his disability as outlined above
  20
          and in Addendum A.
  21
       31. Plaintiff has been injured by the unlawful discriminatory practices alleged in this
  22
          Complaint.
  23
       32. Pursuant to HRS §489-7.5, Plaintiff is entitled to -
  24
          •   Sue for damages sustained, and, if the judgment is for the plaintiff, the plaintiff
  25
              shall be awarded a sum not less than $1,000 or threefold damages by the plaintiff
  26
              sustained, whichever sum is the greater, and reasonable attorneys' fees together
  27
              with the costs of suit, and
  28


                                                   5
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 6 of 33                  PageID #: 6




   I      •   Bring proceedings to enjoin the unlawful discriminatory practices, and if the

   2          decree is for the plaintiff, the plaintiff shall be awarded reasonable attorneys' fees

   3          together with the cost of suit.

   4   33. Plaintiff is deterred from visiting the Hotel and is thereby suffering daily actual and

   5      statutory damages.

   6   WHEREFORE, Plaintiff demands judgment against Defendant I as follows:

   7      A. A Declaratory Judgment that at the commencement of this action Defendant I was

   8          in violation of the specific requirements of the statute; and

   9      B. A permanent injunction which directs Defendant 1 to take all steps necessary to

  10          bring its Hotel into full compliance with the requirements set forth in HRS, and its

  11          implementing regulations, so that the facilities are fully accessible to, and

  12          independently usable by, disabled individuals as required by law, and which

  13          further directs that the Court shall retain jurisdiction for a period to be determined

  14          after Defendant 1 certifies that its facilities are fully in compliance with the
  15          relevant requirements of the Statutes to ensure that Defendant I has adopted and
  16          is following an institutional policy that will in fact cause Defendant I to remain
  17          fully in compliance with the law; and
  18      C. The payment of costs of suit including attorney's fees and expenses; and
  19      D. Order closure of the Defendant l's Hotel until Defendant I has fully complied
  20          with the ADA and HRS; and
  21      E. For damages in an amount no less than $1,000.00 per violation per encounter per
  22          day; and
  23      F. For treble damages pursuant to HRS §489-7.S(c).
  24      G. The provision of whatever other relief the Court deems just, equitable and
  25          appropriate.
  26                                         COUNT III
                         (Nondisclosure - Restatement (Second) of Torts §551)
  27
                                      (Against Defendant I Only)
  28
       34. Plaintiff realleges all allegations heretofore set forth.

                                                   6
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 7 of 33                          PageID #: 7




   1   35. In Hawai'i, claims for nondisclosure are governed by the Restatement (Second) of
   2        Torts§ 551 (Am. Law Inst. 1977)2•
   3   36.Defendant 1's Hotel is subject to the requirements of28 CFR §36.302 3 •

   4
       2   Restatement of Torts: 551. Liability For Nondisclosure
   5
       ( 1) One who fails to disclose to another a fact that he knows may justifiably induce the other to
   6        act or refrain from acting in a business transaction is subject to the same liability to the other
   7        as though he had represented the nonexistence of the matter that he has failed to disclose, if,
            but only if, he is under a duty to the other to exercise reasonable care to disclose the matter in
   8        question.
       (2) One party to a business transaction is under a duty to exercise reasonable care to disclose to
   9        the other before the transaction is consummated,
            (a) matters known to him that the other is entitled to know because of a fiduciary or other
  10            similar relation of trust and confidence between them; and
  11        (b) matters known to him that he knows to be necessary to prevent his partial or ambiguous
                statement of the facts from being misleading; and
  12        (c) subsequently acquired information that he knows will make untrue or misleading a
                previous representation that when made was true or believed to be so; and
  13        (d) the falsity of a representation not made with the expectation that it would be acted upon,
                if he subsequently learns that the other is about to act in reliance upon it in a transaction
  14
                with him; and
  15        (e) facts basic to the transaction, if he knows that the other is about to enter into it under a
                mistake as to them, and that the other, because of the relationship between them, the
  16            customs of the trade or other objective circumstances, would reasonably expect a
                disclosure of those facts.
  17
       3
  18   28CFR§36.302 Modifications in policies, practices, or procedures.
  19
             (a) General. A public accommodation shall make reasonable modifications in policies,
  20             practices, or procedures, when the modifications are necessary to afford goods, services,
                 facilities, privileges, advantages, or accommodations to individuals with disabilities,
  21             unless the public accommodation can demonstrate that making the modifications would
                 fundamentally alter the nature of the goods, services, facilities, privileges, advantages, or
  22
                 accommodations.
  23         (b) .. .
             (c) .. .
  24         (d) .. .
             (e) ( 1) Reservations made by places of lodging. A public accommodation that owns, leases
  25             (or leases to), or operates a place of lodging shall, with respect to reservations made by
                 any means, including by telephone, in-person, or through a third party-
  26
                 (i)      Modify its policies, practices, or procedures to ensure that individuals with
  27                      disabilities can make reservations for accessible guest rooms during the same hours
                          and in the same manner as individuals who do not need accessible rooms;
  28             (ii)     Identify and describe accessible features in the hotels and guest rooms offered
                          through its reservations service in enough detail to reasonably permit individuals

                                                       7
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 8 of 33                         PageID #: 8




   1   37. The gist of the requirement of 28CFR§28.302(e) is the requirement that a place of

   2      lodging, such as Defendant 1's Hotel, disclose both the accessible elements but, more

   3      importantly, inaccessible elements of the place of lodging; without a description of

   4      inaccessible mobility elements, Defendant 1 fails to comply with 28CFR§28.302(e) as
          a matter of law.
   5
       38.Defendant l's Hotel was under a duty to disclose both accessible and inaccessible
   6
          elements on its first and third party websites in enough detail to reasonably permit
   7
          individuals with disabilities, including the Plaintiff, to assess independently whether a
   8
          given hotel or guest room meets his or her accessibility needs all as more fully
   9
          disclosed in Addendum A.
  10
       39. Defendant l's disclosure and identification of accessibility and inaccessibility
  11      elements was insufficiently detailed to reasonably permit individuals with disabilities
  12      to assess independently whether a given hotel or guest room meets his or her
  13      accessibility needs all as more fully disclosed in Addendum A.
  14   40. Defendant 1's third party and first party booking websites made partial disclosures of
  15      accessibility which were known to Defendant 1 to cause them to be misleading.
  16   41. The disclosure of accessibility and inaccessibility elements were facts basic to the

  17      transaction of booking a room at the Defendant 1's Hotel.

  18
  19
                      with disabilities to assess independently whether a given hotel or guest room meets
  20                  his or her accessibility needs;
             (iii)    Ensure that accessible guest rooms are held for use by individuals with disabilities
  21                  until all other guest rooms of that type have been rented and the accessible room
  22                  requested is the only remaining room of that type;
             (iv)     Reserve, upon request, accessible guest rooms or specific types of guest rooms and
  23                  ensure that the guest rooms requested are blocked and removed from all
                      reservations systems; and
  24         (v)      Guarantee that the specific accessible guest room reserved through its reservations
                      service is held for the reserving customer, regardless of whether a specific room is
  25                  held in response to reservations made by others.                                         .
             (2) Exception. The requirements in paragraphs (iii), (iv), and (v) of this section do not
  26
                   apply to reservations for individual guest rooms or other units not owned or
  27               substantially controlled by the entity that owns, leases, or operates the overall facility.
             (3) Compliance date. The requirements in this section will apply to reservations made on
  28         or after March 15, 2012.


                                                     8
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 9 of 33                PageID #: 9




   1   42. The partial disclosure of accessibility on Defendant 1's third and first party websites

   2      created the impression of two interpretations: One that the hotel was fully ADA

   3      compliant and the other that it was not.

   4   43. Plaintiff has been damaged by the nondisclosure.
       44. Defendant 1's conduct raises the presumption of conscious indifference to
   5
          consequences of its actions which, in tum, demonstrates wanton or oppressive acts or
   6
          malice as implies a spirit of mischief or indifference to civil obligations, or willful
   7
          misconduct, entitling Plaintiff to an award of punitive damages in an amount sufficient
   8
          to deter Defendant 1 and others similarly situated from similar misconduct.
   9
  10      WHEREFORE, Plaintiff prays for relief as follows:
  11      A. For a finding of liability of Defendant 1 on this Count; and

  12      B. For damages assessed in favor of Plaintiff in an amount to be determined at trial;

  13          and
          C. For punitive damages in an amount sufficient to deter this Defendant 1 and
  14
              others similarly situated from similar misconduct; and
  15
          D. For costs, fees, expenses and attorney's fees in an amount to be proven; and
  16
          E. For such other and further relief as the Court may deem just and proper.
  17
                                            COUNT IV
  18                            (Consumer Fraud - HRS Chapter 480)
                                     (Against Defendant 1 Only)
  19
  20   5. Plaintiff realleges all allegations heretofore set forth.

  21   6. HRS §480-2 declares unlawful all unfair or deceptive acts or practices in the conduct

  22     of any trade or commerce.

  23   7. Defendant 1's Hotel committed unfair and deceptive acts or practices in the conduct
         of its lodging business s more fully detailed in Counts I - IV above all of which are by
  24
         this reference incorporated herein.
  25
       8. Plaintiff is a "consumer" as this term is defined in HRS §480-1.
  26
       9. HRS Chapter 480 is intended not only to protect the persons who actually purchased
  27
         goods or services as a result of unfair and deceptive acts and practices, but also those
  28


                                                   9
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 10 of 33                PageID #: 10




    1     who attempted or were solicited to do so. Zanakis-Pico v. Cutter Dodge, Inc., 4 7 P .3d

    2     1222 (Haw. 2002)

    3   O.Any consumer who is injured by any unfair or deceptive act or practice forbidden or

    4     declared unlawful by section 480-2:
              ( 1) May sue for damages sustained by the consumer, and, if the judgment is for the
    5
                   plaintiff, the plaintiff shall be awarded a sum not less than $1,000 or threefold
    6              damages by the plaintiff sustained, whichever sum is the greater, and reasonable
                   attorney's fees together with the costs of suit; provided that where the plaintiff
    7              is an elder, the plaintiff, in the alternative, may be awarded a sum not less than
    8              $5,000 or threefold any damages sustained by the plaintiff, whichever sum is
                   the greater, and reasonable attorney's fees together with the costs of suit. In
    9              determining whether to adopt the $5,000 alternative amount in an award to an
                   elder, the court shall consider the factors set forth in section 480-13.5; and
   10
   11         (2) May bring proceedings to enjoin the unlawful practices, and ifthe decree is for
                  the plaintiff, the plaintiff shall be awarded reasonable attorney's fees together
   12             with the costs of suit.
   13
        51. Plaintiff has been damaged by Defendant 1's unfair and deceptive acts or practices in
   14
           the conduct of its lodging business s more fully detailed in Counts I - IV above all of
   15
           which are by this reference incorporated herein.
   16   52. Defendant 1's conduct raises the presumption of conscious indifference to
   17      consequences of its actions which, in turn, demonstrates wanton or oppressive acts or
   18      malice as implies a spirit of mischief or indifference to civil obligations, or willful
   19      misconduct, entitling Plaintiff to an award of punitive damages in an amount sufficient
   20      to deter Defendant 1 and others similarly situated from similar misconduct.

   21
           WHEREFORE, Plaintiff prays for relief as follows:
   22
           A. For a finding of liability of Defendant 1 on this Count; and
   23
           B. For damages assessed in favor of Plaintiff in an amount to be determined at trial;
   24
              and
   25      C. For punitive damages in an amount sufficient to deter this Defendant 1 and
   26         others similarly situated from similar misconduct; and
   27      D. For costs, fees, expenses and attorney's fees in an amount to be proven; and
   28      E. For such other and further relief as the Court may deem just and proper.


                                                 10
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 11 of 33                 PageID #: 11




    1                                            COUNTY
                                             (Negligence per se)
    2                                     (Against Defendant 1 Only)
    3
        53. Plaintiff realleges all allegations heretofore set forth.
    4
        54. Defendant 1 had a duty to Plaintiff to remove ADA accessibility barriers so that
    5
            Plaintiff as a disabled individual would have full and equal access to the public
    6
            accommodation.
    7   55. Defendant 1 breached this duty.
    8   56. Defendant 1 is or should be aware that, historically, society has tended to isolate and
    9       segregate individuals with disabilities, and, despite some improvements, such forms
   10       of discrimination against individuals with disabilities continue to be a serious and
   11       pervasive social problem4 •

   12   57. Defendant 1 knowingly and intentionally participated in this historical

   13       discrimination against Plaintiff, causing Plaintiff damage.

   14   58. Discrimination against individuals with disabilities persists in the use and enjoyment
            of critical public accommodations5 .
   15
        59. Defendant 1's knowing and intentional persistence in discrimination against Plaintiff
   16
            is alleged, causing Plaintiff damage.
   17
        60. Individuals with disabilities, including Plaintiff, continually encounter various forms
   18
            of discrimination, including outright intentional exclusion, the discriminatory effects
   19
            of architectural, overprotective rules and policies, failure to make modifications to
   20
            existing facilities and practices, exclusionary qualification standards and criteria,
   21       segregation, and relegation to lesser services, programs, activities, benefits, jobs, or
   22       other opportunities 6 •
   23   61. Defendant 1's knowing and intentional discrimination against Plaintiff reinforces
   24       above forms of discrimination, causing Plaintiff damage.
   25
   26
   27   4
          42 U.S.C. § 12101(a)(2)
        5
   28     42 U.S.C. §1210l(a)(3)
        6
          42 U.S.C. §12101(a)(5)

                                                    11
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 12 of 33                  PageID #: 12




    1   62. Census data, national polls, and other studies have documented that people with
    2       disabilities, as a group, occupy an inferior status in our society, and are severely

    3       disadvantaged socially, vocationally, economically, and educationally7 •

    4   63. Defendant l's knowing and intentional discrimination has relegated Plaintiff to an
            inferior status in society, causing Plaintiff damage.
    5
        64. The Nation's proper goals regarding individuals with disabilities are to assure equality
    6
            of opportunity, full participation, independent living, and economic self-sufficiency
    7
            for such individuals 8•
    8
        65. Defendant 1's knowing, and intentional discrimination has worked counter to our
    9
            Nation's goals of equality, causing Plaintiff damage.
   10
        66. Continued existence of unfair and unnecessary discrimination and prejudice denies
   11
            people with disabilities the opportunity to compete on an equal basis and to pursue
   12       those opportunities for which our free society is justifiably famous, and costs the
   13       United States billions of dollars in unnecessary expenses resulting from dependency
   14       and nonproductivity 9 •
   15   67.Defendant l's knowing and intentional unfair and unnecessary discrimination against
   16       Plaintiff demonstrates Defendant l's knowing and intentional damage to Plaintiff.
   17   68.Defendant l's breach of duty caused Plaintiff damages including, without limitation,

   18       the feeling of segregation, discrimination, relegation to second class citizen status the

   19       pain, suffering and emotional damages inherent to discrimination and segregation and
            other damages to be proven at trial.
   20
        69. By violating Plaintifrs civil rights, Defendant 1 engaged in intentional, aggravated
   21
            and outrageous conduct.
   22
        70. The ADA has been the law of the land since 1991, but Defendant 1 engaged in a
   23
            conscious action of a reprehensible character, that is, Defendant 1 denied Plaintiff his
   24
            civil rights, and cause him damage by virtue of segregation, discrimination, relegation
   25
   26
   27   7
          42 U.S.C. §12101(a)(6)
        8
   28     42 U.S.C. §12101(a)(7)
        9
          42 U.S.C. §12101(a)(8)

                                                   12
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 13 of 33               PageID #: 13




    1      to second class citizen status the pain, suffering and emotional damages inherent to
    2      discrimination and segregation and other damages to be proven at trial.

    3   71. Plaintiff has been damaged by Defendant 1's unfair and deceptive acts or practices in

    4      the conduct of its lodging business s more fully detailed in Counts I - III above all of
           which are by this reference incorporated herein.
    5
        72.Defendant l's conduct raises the presumption of conscious indifference to
    6
           consequences of its actions which, in turn, demonstrates wanton or oppressive acts or
    7
           malice as implies a spirit of mischief or indifference to civil obligations, or willful
    8
           misconduct, entitling Plaintiff to an award of punitive damages in an amount sufficient
    9
           to deter Defendant 1 and others similarly situated from similar misconduct.
   10
        WHEREFORE, Plaintiff prays for relief as follows:
   11
               A. For finding of negligence; and
   12          B. For damages in an amount to be proven at trial; and
   13          C. For punitive damages to be proven at trial; and
   14          D. For such other and further relief as the Court may deem just and proper.
   15                                         COUNT VI
                            (Violation of 42 USC 12203 and 28 CFR 36.206)
   16                                 (Against Defendants 1 and 2)
   17
        73. Plaintiff realleges all allegations heretofore set forth.
   18
        74. Defendant Richard Rand is an agent of Defendant Marr Jones Wang. Defendants
   19
           Rand and Marr Jones Wang are jointly agents ofKapalua Land Company LTD dba
   20
           The Kapalua Villas Maui.
   21   75. On January 21, 2019, Plaintiff issued to Defendant l's general manager, Bill Rees, a
   22      Courtesy Notice ofPotential Litigation. Addendum B.
   23   76. On February 5, 2019, Plaintiff received a response from Defendant Richard Rand, a
   24      lawyer with Marr Jones & Wang. Addendum C.
   25   77. Plaintiff believed in good faith that the February 5, 2019 response by Defendant Rand
   26      was poorly researched and that Mr. Rand's understanding of 28CFR36.302 was de

   27      minims.

   28


                                                    13
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 14 of 33              PageID #: 14




    1   78. As a courtesy explanation of issues relevant to the Courtesy Notice of Potential
    2      Litigation, Plaintiff e-mailed a letter to Mr. Rand explaining the scope of 28 CFR
    3      36.302. Addendum D.

    4   79. Defendant Rand did not take kindly to Plaintiffs explanation and issued a responsive
           letter to Plaintiff on February 11, 2019. Addendum E. In this letter, Defendant Rand
    5
           interfered, coerced and intimidated Plaintiff by threatening to file charges against
    6
           Plaintiff with the Arizona State Bar for Plaintiffs exercise of his rights under the
    7
           ADA.
    8
        80. Defendant Rand made certain that no further communication with Plaintiff would
    9
           ensue. Addendum F.
   10
        81.42 USC §12203(b) and (c) provide:
   11
              (b )INTERFERENCE, COERCION, OR INTIMIDATION
   12         It shall be unlawful to coerce, intimidate, threaten, or interfere with any
              individual in the exercise or enjoyment of, or on account of his or her
   13
              having exercised or enjoyed, or on account of his or her having aided
   14         or encouraged any other individual in the exercise or enjoyment of, any
   15         right granted or protected by this chapter.

   16         (c)REMEDIES AND PROCEDURES
              The remedies and procedures available under sections 12117, 12133,
   17         and 12188 of this title shall be available to aggrieved persons for
   18         violations of subsections (a) and (b) of this section, with respect to
              subchapter I, subchapter II and subchapter III, respectively.
   19
        82. 28 CFR §36.206 further provides:
   20
                        CFR § 36.206 Retaliation or coercion.
   21
                     (a) No private or public entity shall discriminate against
   22                    any individual because that individual has opposed any
   23                    act or practice made unlawful by this part, or because
                         that individual made a charge, testified, assisted, or
   24                    participated in any manner in an investigation,
   25                    proceeding, or hearing under the Act or this part.

   26                (b) No private or public entity shall coerce, intimidate,
   27                    threaten, or interfere with any individual in the
                         exercise or enjoyment of, or on account of his or her
   28                    having exercised or enjoyed, or on account of his or

                                                14
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 15 of 33             PageID #: 15




    1                   her having aided or encouraged any other individual in
                        the exercise or enjoyment of, any right granted or
    2
                        protected by the Act or this part.
    3
                    (c) Illustrations of conduct prohibited by this section
    4
                        include, but are not limited to:
    5
                        (I) Coercing an individual to deny or limit the benefits,
    6
                            services, or advantages to which he or she is
    7                       entitled under the Act or this part;
    8
                        (2) Threatening, intimidating, or interfering with an
    9                       individual wi~h a disability who is seeking to obtain
   10
                            or use the goods, services, facilities, privileges,
                            advantages, or accommodations of a public
   11                       accommodation;
   12
                        (3) Intimidating or threatening any person because that
   13                       person is assisting or encouraging an individual or
   14                       group entitled to claim the rights granted or
                            protected by the Act or this part to exercise those
   15                       rights; or
   16
                        (4) Retaliating against any person because that person
   17                       has participated in any investigation or action to
   18                       enforce the Act or this part.

   19
        83. Defendant Rand and Defendants Marr Jones Wang and Kapalua Land Company LTD
   20
          dba The Kapalua Villas Maui through the principles of agency, violated 42 USC
   21      §12203 and 28 CFR §36.206, entitling Plaintiff to remedies pursuant to 42 USC§§
   22      12117, 12133, and 12188.
   23     WHEREFORE, Plaintiff prays for relief as follows:
   24         A. For finding that Defendants violated 42 USC § 12203 ND 28 CFR §36.302;
   25            and

   26         B. For all relief pursuant to 42 USC§§ 12117, 12133, and 12188; and
   27         C. For such other and further relief as the Court may deem just and proper.

   28


                                               15
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 16 of 33                  PageID #: 16




    2                            REQUEST FOR TRIAL BY JURY

    3        Plaintiff respectfully requests a trial by jury in issues triable by a jury.
    4
             DATED this 11 111 day of February 2019 .
    5
    6
    7

    8
    9
   10
   11

   12

   13

   14
   15

   16

   17
   18

   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                 16
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 17 of 33   PageID #: 17




                                  '\
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 18 of 33                                                                                                                             PageID #: 18




    1                                                                                     ADDENDUM A

    2                        3Ro PARTY BOOKING WEBSITE - GENERAL ACCESSIBILITY
    3                                                                                     INFORMATION
                                                                                           \Nww.hotels.com
    4
                                                              NO ACCESSIBILITY INFORMATION
    5
                                                       Main amenities                                               Feel at home
    6
                                                       v     280 s:rnoke·fr;;e corn:fos                             v     Kitcrftfl

    7                                                  v       ear meoeacr                                          v     Cookware. d,shware ano
                                                       v     S outdoor pools                                              ute"lsils
                                                       v' 2 01.;tdoor tennis courts                                 v     \~ 1crowa1re

    8                                                  v     Air cond1uon ng                                        v     Ful ·sized re~geraio·lfreezer
                                                       ./ Garden                                                    v     Garden
    9                                                  v    Car rerials on s1:e                                     v     Iron. Joning ooard
                                                       v     ATM.lbankin9 SeNlteS
   10                                                  v     L.; undry service
                                                       v     Gift snop!llrewsstands
   11                                                  v     Picric area
                                                       v' aa•becue grills

   12                                                  v     F•ee WiF1 and fJee par'<>ng



   13
             About Kapalua Villas Maui, Lahaina
   14
             l ocation.                                                                                           Guto1trooms.
             The Kap.ah.ti Wu t-.i.Jui ~nfror.t te-"JOtt is oc;,:t"d a!ong 3 .Ue>a ua a.,., D•U~                  1'"ne l<oo.l ul V as M..JUt of'«S 2&) OOU"\.'tont oc-•1"\+v--~. or f::t f'W3y~"ilil'W \ffi.i»
   15        rn Ufi~nll. J..'sUt, 1-fa"Na.S. >. to1.J of 1.600 x1t"s p~oi.Jdn the ito~ lt.neseaoe for             wcti cne two. or t!Yeeb<edf'OOms. i='loo' pt.J"\S U"OucM tow,:iiOUSM. an<l lcft· sty1e or
             ttle YI   LH.   ""°   t~• '*!Q,,?::Of""'Q: R1tz·CatltO"I Klpa~~ and Klp3~J 6.y                       r)ne-#!¥Q1 unl(S AU Of)(Ui 12.JWle fL           \; toh~S   .no ltt eor!d1tlO't ng
                                                                                                                  o~e ri:d 1n aed·oc""s ~l'l(J v.n~ rool'Y\i t..cc:on-mocl1~• it'd~•
                                                                                                                                                                                                      C~ tt: ·~-()(\ \S
                                                                                                                                                                                                      CO and OV:>
   16        Rtsort FH :1UfeS-
             ~iore V\.>rl 12 t'HOl't-QOt1'1Dfu rtltal.<r.irts 1""1CW~ i<"J Sush Rtt~vf"ant. the ~;.,.a:ure
                                                                                                                  Pla'(tf"I -t-°"'St:"'te?   "°'   ti   nM1t-it   c-°' req<Je-S:
             8J1ny.1n Tree rH:.a.u~nt, 2.na: lM A.tao• LOUt"~ C ut n.11y et'-t-Mgt ran\}e' from
             gou·"'-t Frer,ct- 1nd l~~an. to Pac.ti~ R,m .ar,d H.1w" qi" The Honol~ u SW• rt
   17        M-1by •.nd .ol'tt:rs hot bfe:i~1ts a-ia e.-..styte "..1V.1. u ~ n 1 ' ..:!l·MN'l"':e
             HOreHO b.>r ~ ol N rei.ort c:oniple:r ctU"l'tP"Of\l"\10 ;oH c:o.,;nu 'A'H da1,;r..c
             by Amvtd Pamer •l"d "'"of t"le 111sctfs 2 out.door ho~•o !en~ 1 coum 11
             c:Q!TIPI m•n:~:y The 'Hort t:ome<4X. t1::>\..'HI 1he Kapalu1 Go-f Ac..-d•l't'Y t'Vt ott.r•
   18        profeu Ol"'I' got' ..n1:r... ::t.cn O'"l--11i. J..!'\001 cl'et rs la-id- nJ.-rttd merclUI~ H 1-,,0
             tone ;~7 A cornoi.rn.,.... ry ati.J~ trar'S:JO'tl ~s~ t."lrci.."Qhout lti• f'flO, u:pon
             f'tloql.et t S•f'-01.~g l")::I V\\FI are #\ti!Je.d '\ ~e daJy ruo-: "M At TI-.e K>pa iJI

   19        ViH ihere a.re S JWimm~ poo.1~!.0 T·aoghOY~ (o· un{3 pc.ola.1n the E 11
             V-•u J DOol.s 1,, me ~V u _2poo1 ~ -:-e R.og• V. H l


   20
   21

   22

   23
   24
   25
   26
   27
   28


                                                                                                     17
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 19 of 33                                                                          PageID #: 19




    1
                      Key facts                                                              Travelling with others
    2                 Size                                                                   Children
                      • 280rooms                                                             v    No cribs (infant beds)
    3
                      Arriving/leaving                                                       Pets

    4                 G> S4% of customers were happy with                                    V Pets not a!lowed
                            ~ck-in
                                                                                             Internet
    5                 • 24-hour ched<-in
                      •     Cheek-out time is 1t AM                                          v Free V'AFi in publie areas
    6                                                                                        v    Free \MFi in rooms
                      Required at check in
                      • Credit c:ard or cash deposit required
    7                 • GovemmenHss.ued photo 10 required

    8
    9
   10
   11          Food and drink                         Barbecue 9ritls

   12          Things to do                           Golf lessons on s.1e      I  Ecotours nearby             I
                                                                                                         Golfing nearby                     I
                                                      Hilcingr'blking trails nearby     I
                                                                                        Kayaking nearby                 I
                                                      Mountain biking nearby        I Parasailing l"earby              I
                                                                                                               Sailing nearby                   I
   13                                                 Scooter/moped rentals nearby               I
                                                                                             Scuba diving nearby                    I
                                                      Segway ren1alltour nearby         !Snoriceling nearby                 I
   14                                                 Surfing/boogie boarding nearby                 I
                                                                                              water skiing nearby                   I
                                                      Windsurfing nearby

   15          Services                               Front desk (limited hours)        I    Dry cleaning11aundry service

   16          Facilities                             ATM/banking       I   Garden       I       Ficnic area

               Languages Spoken                       E.'1gtish
   17
   18
   19          Home comforts                          AJ:r conditioning I Ceiling fan                I   Coffee/tea maker       I
                                                      lron{Jroneng board

   20          Things to enjoy                        Furnished lanai

               Freshen up                             Hair dryer
   21
               Be entertained                         Cable TV channels
   22
               Stay connected                         Free 'NIFi   I    Phone

   23          Food and drink                         Full-sized refrigEtraton'freezer       I
                                                                                       Microwave                   I   Kitchen          I
                                                      Cookware. dishware. and utensils
   24          More                                   IEHOOm safe

   25
   26      Identification of Specific Barrier in Plain Language: Booking website does not
           identify and describe accessible features in the hotel and guest rooms in enough detail
   27      to reasonably permit Plaintiff to assess independently whether the hotel or guest room
           meets his accessibility needs.
   28


                                                                       18
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 20 of 33                                                                 PageID #: 20




    1      The manner in which the barriers denied Plaintiff full and equal use or access, and
           which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff fu ll and equal
    2      access by failing to identify and describe accessible features in the hotel and guest rooms
           in enough detail to reasonably permit Plaintiff to assess independently whether the hotel
    3
           or uest room meets his accessibilit needs.
    4      The dates on each particular occasion on which Plaintiff encountered such
           barrier and which deter Plaintiff from visitin Hotel: On or about 20 18-01-03.
    5
    6                                     NO ACCESSIBILITY INFORMATION
    7
             Golf Villas 7116P5, 2 Bedroom, 2 Bath, Gold Fairway View
    8
                                                                         1 King Bed 2 Twin Beds and 1 Queen Sofa Bed
    9                                                                    t:eaLr6      a P,"lVate   furrh S.'"1ed ana


                                                                         Layout· : :iedroo-ns
   10                                                                    ln1eme1- F~ WiFi
                                                                         Entertainment • Caote d\a11rta1s
                                                                         Food & Drink • l(1tche11 w !."I refngera1or m1CJt)wave
   11                                                                    coo•:wa•;; d shware. 3r.d co!leeite3 ma<er
                                                                         Bathroom - 2 t:atnrooms a ~o a n air d-1e·
   12                                                                    Practic;il . Safe. 1ron!\ron.ng board, and ptio1e
                                                                         Comfort - A>r c:ondlllM•ng
                                                                         Nor ·Smo• ng
   13

   14                                                                    Details
                                                                         •   A·rQJna t -O."l•ng       •   Cooh-,,are           • Har dryer
              Sleilps 6 people (tncilld1119 up lo S cllildreni
                                                                         , c 3b!e TV                      d1sriwa:e. anc       • In-room 5'31e
   15         Bed choices                                                    seMce                        ute<>si!s            •   lron.'l:oti.ng
               • 1 King Bed. : -,,_,n 9aos a N3 1 °'-*" S'o'a Seo
                                                                         • Cecl1!'\g fari             • F·ee W F.                  toaro
   16         More Inf:> 86e-53.;l-31ii
                                                                         • Cof~· tei                  • Ful'-s1: ed                "°leher>
                                                                             malr.w                       reir-gcrat~rtfrae
                                                                                                                               •   ~rt'lo"Nave
                                                                                                          zer
   17                                                                                                 • Furr11s..-ied Ja,,.a
                                                                                                                               • Ptione


   18

   19

   20
   21

   22
   23

   24

   25

   26
   27
   28


                                                                    19
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 21 of 33                                                                                             PageID #: 21




    1      ··;l~~·~·~;:i~~fu~s~:~8:~~l~eW'~6olit)
            ',:· ,:·    i .' ", ·: ~·;-; '   ' ,. . . '   '-·:..i...   • ' .'   ~ ',' ,.,   '~ •




    2                  Sleeps 6 people (including up to 5 children)                                     1 King Bed and 2 Twin Beds
                                                                                                        Fumished lanai with ooean views
                       Bed choices
    3                   • 1 King Bed and 2 Twin Beds
                                                                                                        Layout - 2 bedrooms. livif'\9 room. and sitting area
                       Extra beds available                                                             Internet - Free WiFi
                       • Sofabed
    4                                                                                                   Entertainment - Cable c:hanneis and DVD player
                                                                                                        food & Orink • Kitchen vli1h refrigerator. stovetop, oven.
                       More Info; 866-539-8117                                                          ar.d microwave
    5                                                                                                   Sleep • Linens
                                                                                                        Bathroom - 2 bathrooms. free toiletries.        a hair dryer. and
                                                                                                        towels
    6                                                                                                   Practical - Wsshen'dryer. queen sofa be<!. and free local
                                                                                                        calls
    7                                                                                                   Comfort - Air conditionin9
                                                                                                        Non-Smoking
                                                                                                        Room is accessed via exterior oonidcrs
    8
    9
                                                                                                        ..
                                                                                                        Details
                                                                                                             AJr condiboni"f1   .    Cookware.            .    Hairdryer

   10                                                                                                        Cable TV                dishware. and        •
                                                                                                                                                           .   In-room safe



                                                                                                        ..                      ..
                                                                                                             sei"Vice                utensils                  Iron/ironing



                                                                                                                                                          ..
                                                                                                             Ceiling fan             Free 'MFi                 board
   11                                                                                                        Coffee/tea              Fuli-sized                Y.itchen

                                                                                                                                                          .
                                                                                                             maker                   retrgeratorlfree          Miefowave
   12                                                                                                                           .    zer
                                                                                                                                     Furnished lanai
                                                                                                                                                               Phone


   13
   14
   15                     Sleeps 6 people (including up to 5 children)                                   t King Bed and 2 Queen Beds
                                                                                                         Furnished lanai with ocean views
                         Bed choices
                            •       1 King Bed and 2 Queen Beds
   16                                                                                                    Layout • Bedroom. tivtng room. and dining area
                         Extra beds available                                                            Internet - Free WiFi
                           • Sofabed                                                                     Entertainment - Cable channels and DVD player
   17                                                                                                    Food & Drink - Kitchen wtttl refrigerator. s'tovetop. oven.
                         More Info: 866-539-8117                                                         and microwave
   18                                                                                                    Sleep - Linens
                                                                                                         Bathroom ... Private baihroom. deep soa.klng bathtub
                                                                                                         Practical • Washer/dryer. queen sofa bed, and free local
   19                                                                                                    cans
                                                                                                         Comfort • Air conditioning
                                                                                                         Non-Smolang
   20                                                                                                    Room is accessed via extenor oorridors

   21
                                                                                                         Details
   22                                                                                                    • A.it conditioning    • Cookware.
                                                                                                                                  dishware. and
                                                                                                                                                           • Hairdryer
                                                                                                         • Cabk!TV                                         • In-room safe
                                                                                                           service                utensils                 • ln:mfironing
   23                                                                                                    • Ceiling fan          • Free WR                      board
                                                                                                         •    Coffee/tea        •    FuU-siZed             • Kitchen
   24                                                                                                         maker                  refrigerator/free
                                                                                                                                     zer
                                                                                                                                                           • Microwave
                                                                                                                                                           • Phone
                                                                                                                                •    F umished lanai
   25
   26
   27
   28


                                                                                                   20
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 22 of 33                                                      PageID #: 22




    1       Bay Villas #2082, 2 Bedroom, 2.5 Bath, Gold Oceanfront

    2         Sleeps 6 people (including up to 5 children)        2 King Ek=ds
                                                                  F unished ana     '.V1th   ocean views
              Bed choices
    3         • 2 King E!eds
                                                                  Layout · 2 oedrooms I ving root?' and d '""'11 area
              Extra beds available                                Internet. Fre-e "-\'iF1
    4         •   Sofa t;.ed                                      En tl'rUinmt"nt • Cable O"lanre;s and DVD playe;
                                                                  Food & Drink. K11ctum vr1n refrigerau:ir stovetop. over.
              More ln'o 866-53{).8117                             and   microwa~e
    5                                                             Sleep · L.nens
                                                                  Bathroom - 2 bath·ooms free 101.etries. .a hair drier. and
                                                                  towes
    6                                                             Practical - Was.'iero'd rye-. queen sofa beo. a11d f>"ee 'ocal
                                                                  cans
    7                                                             Comfort. Air ccndmoning
                                                                  Non-Smo<ing
                                                                  qoom 1s acoessed via e>Jer or comd~rs
    8
    9                                                             Details
                                                                  •   A.r cond.t.on1r.9       • Cookware .          • H all' drye-
                                                                                                dis11wa.re. a"d     •   l n-<oom s;afi!
   10                                                             •   C ab'e TV
                                                                                                ute'lsils           •   l ronlir~mng
                                                                  • Ce<hng fan                  Free 'NF•               board
   11                                                             • Coffee.:ea                • F J l!-S..=e-d      • K.tenen
                                                                      ma~E:1'                   relr.gerator1flee   • M CtOYVaV~
                                                                                                :.er
   12                                                                                         • Furn1sned lana.
                                                                                                                    •   Pnone



   13
           Identification of Specific Barrier in Plain Language: Booking website does not
   14
           identify and describe accessible features in the hotel and guest rooms in enough detail
   15      to reasonably permit Plaintiff to assess independently whether the hotel or guest room
           meets his accessibility needs. Insufficient description of d ispersion of accessible rooms
   16      amon various cate ories of rooms.
           The manner in which the barriers denied Plaintiff full and equal use or access, and
   17      which deter Plaintiff from visiting the Hotel: Barrier deni ed P laintiff full and equal
           access by failing to identify and describe accessible features in the hotel and guest rooms
   18
           in enough detail to reasonably permit Plaintiff to assess independently whether the hotel
   19      or ouest room meets his accessi bilit needs.
           The dates on each particular occasion on which Plaintiff encountered such
   20      barrier and which deter Plaintiff from visitin Hotel: On or about 20 18-01 -03.
   21

   22
   23                                   NO ACCESSIBILITY INFORMATION
   24      Identification of Specific Barrier in Plain Language: Booking website does not
           identify and describe accessible features in the hotel and guest rooms in enough detail
   25
           to reasonably permit Plaintiff to assess independently whether the hotel or guest room
   26      meets his accessibili needs.
           The manner in which the barriers denied Plaintiff full and equal use or access, and
   27      which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff fu ll and equal
           access b fa ilin to identif and describe accessible features in the hotel and uest rooms
   28


                                                             21
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 23 of 33                       PageID #: 23




    1      in enough detail to reasonably permit Plaintiff to assess independently whether the hotel
           or uest room meets his accessibilit needs.
    2      The dates on each particular occasion on which Plaintiff encountered such
           barrier and which deter Plaintiff from visitin Hotel: On or about 2018-01-03.
    3
    4
                                  NO ACCESSIBILITY INFORMATION
    5
           Identification of Specific Barrier in Plain Language: Booking website does not
    6      identify and describe accessible features in the hotel and guest rooms in enough detail
    7      to reasonably permit Plaintiff to assess independently whether the hotel or guest room
           meets his access ibility needs. Insufficie nt description of dispersion of accessib le rooms
    8      amon various cate ories of rooms.
           The manner in which the barriers denied Plaintiff full and equal use or access, and
    9      which deter Plaintiff from visiting the Hotel: Barrier den ied Plaintiff full and equal
           access by failing to identify and describe accessible features in the hotel and guest rooms
   10      in enough detail to reasonably permit Plaintiff to assess independently whether the hotel
   11      or uest room meets hi s accessibilit needs.
           The dates on each particular occasion on which Plaintiff encountered such
   12      barrier and which deter Plaintiff from visitin Hotel: On or about 2018-01-03.
   13

   14
   15
   16
   17
   18
   19
   20
   21

   22
   23
   24
   25
   26
   27
   28


                                                   22
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 24 of 33                                                                PageID #: 24




    1                                                       ADDENDUM B
    2                                                                                        2375 EAsT CA.Ma11.&.<t: Ro;l!I)
                                                     PETER STROJNIK                                             Sum GOO
    3                                                                                           f'Hon1tt, A-12011.r. 850 l6
                                                                                             T ELUHOlll:: 602-524-0602
                                                                                                 ~·M411. PS@sTitQJK';X.COM
    4
    5                                                            1~21.2019


    6
    7
    8
                       I ~ a ~abled. \"liti!Wl and .?ll ADA ll!SW" ! l!llimli<?U to ttly bl ~'Gtl!" HolC! bw ooled !Jut the
                       Hocel doe !!Alt pronli! eqUl1 accm as required by '.!8 CFR Pm 36. th2 2010 ~'U!d.u'di of
    9                  Atces.ibili:ty Dengn 01 HRS 02ptu~S9. Duai:!cn.mcc u: Pub!.io\ c.comn:odlocm s~S9-l r-:
                       :tq. The here!·; 001Komp~~ 11ilh the .IDA and HRS Cbajxi!!' 4SS> dl?!ll me i111m boolcU:g a
                       l'D<m tbm ahbough 1 intw! to bock II .:a \OOll M yO'Jr furiliry bee=> tillly ADA mil HRS
   10                  compliw.
                       In the prepmrion ofiM 4mcl>.-.d draft Compb.int I gathered infllfm.l.tioo from thud p.a!l}' book~
   11                  a~.!nf111..-ebiit! (bote);.com) Gd  tli.t oonYs 1• pm)' booking- wcb$iu md othrr sa:irus. ~ o!
                       di<? mfo=rion may b2 old er~ w:nia'lile: thmfOR. !a ·m t know my comcnotU !J..111
                       mo'l!!d be !ll(or:pctllled imo ch~ a.lit complil!llt. ftJnhH. p".au m'iaw me acudl.M 2010
   12                  Sw1da:ni.; of ACW!.ll!ilit}' D~ aai, pulTJml to 29 CFR ; .lB02(e). disdoie 11ticll of rha
                       mobiliry requlRl!lmll h.1\"e tl.OI b!!I! m~L
   13                  I sv~y sugg~~ dut yoo consult n·W: .ui ammiey lem:n!!d in ADA lll.lttm. This is a complex
                       ma.nu l?llfol\~ g'g1u:finll1 powmal danugA anamey' s iHi. com md ~
   14                  I tiq\le:JI !lur you mpood 10 !l!ll con:mucica:ti.an llO lat~ ih411 IO d.l)-s frolll the secd<Wa. in the
                       llll!a!lmnt. I illll ab!! to di!iCUis Ibis Cllnez by phone md ~-aull

   15
   16

   17

   18

   19
   20
   21

   22
   23

   24

   25

   26
   27

   28


                                                                   23
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 25 of 33                                PageID #: 25




    1                                               ADDENDUMC

    2
    3
                                       MARR JONES & WANG
    4                                           L11f1pr anti   Enplu~m~nl   Law

    5
                                                     Februa:"y 5, 2019
    6
    7
            Jlla E-mail (ps@strojnik.com)
    8
            Mr. Peter Strojnik
    9       23 75 East Can1elback Road, Suite 600
            Phoenix, Arizona 85016
   10
                           Re: Honua Kai Resort & SpaJKapalua Villas Maui
   11
            Dear Mr. Strojnik:
   12
                    We are responding co your letters to Claudio Andrade regarding the Honua Kai Resort &
   13       Spa and to Bill Rees regarding the Kapalua Vil:as Maui. We have reviewed your draft class
            action complaints which are virtually identical. We understand that you are not licensed to
   14       practice law in either Arizona or Hawaii and were suspended effective July 11, 2018 by the
            Presiding Disciplinary Judge of the Arizona Supreme Court while it continued to investigate
            your m~s filing of ADA lawsuits without any factual support. Your draft complaints sent to the
   15       two properties strongly suggest that your conduct is continuing.
   16               As a ren1al program operator, Outrigger Hqtels Hawaii ("'Outrigger} has been and will
            remain committed to ADA compliance. However, individually owned rental units at
   17       condominium projects are not subject to the same accessibility requirements as traditional hotels
            under the ADA. Specifically under §36.406 (c)ofthe regulations you enclosed:
   18
                   (2) Exception. Alterations to guest rooms in places of lodging where the guest rooms
   19              are not owned or substantially controlled by the entity that owns, leases, or operates
                   the ovcraU facility and the physical features of the guest room interiors are
   20              controlled by their individual owners are not required to ccnnply with § 36.402 or
                   the alterations requirements in 11ectioa 224.1.l of the 2010 Standards.
   21
                    Outrigger neither owns nor substantiall}' controls the guest rooms which arc control led by
   22       the individual owners. The 2010 standards do not apply 10 individually owned condominium
            units that may be placed into a rental program. All of the units at both properties were
   23       cotlStructed prior to the ADA accessibility standards. Both of your letters and draft complaints
            refer to the facilities as '"hotels,'. They are no~ and under the ADA this is critical distinction.
   24
   25
   26
   27
   28


                                                          24
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 26 of 33                                  PageID #: 26




    1       Mr. Peter Strojnik
            February 5, 2019
    2       Pnge2

    3
                    We trust this responds to your letter. Our response is without prejudice to our belief that
    4       you are attempting to engage in the unauthorized practice of law.

    5                                                      Very truly yours,

    6
    7
    8       RMR:tvf

    9

   10

   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                         25
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 27 of 33                           PageID #: 27




    1                                                        ADDENDUMD
    2                                                                            2375   EAST (AMELBACK ROAD

    3                                     PETER STROJNIK                                              600
                                                                                                  SUITE
                                                                                   PHOENIX, ARIZONA 85016
    4
                                                                                 TELEPHONE: 602-524-6602
    5                                                                              E-MAIL PS@STROJNIK.COM

    6
    7
    8
                                                             February 5, 20 19
    9
        Richard Rand
   10
        By e-mai l only RRand@ marrjones.com
   11
               Re: Honua Kai Resort & Kapalua Villas Maui
   12

   13   Dear Mr. Rand:

   14   I reviewed your insightful correspondence w ith interest.
   15   As you have gleaned from your due diligence investigation, I am a retired civi l rights
        attorney and ADA Tester. Our position is that the ADA status of the Hotel is lacking
   16
        reference to booking standards of 28 CFR §36.302(e).
   17
        Your correctly adm it that both Honua Kai Resort and Kapalua Villas Maui are operated
   18   by Outrigger. Indeed, 151 party websites are registered to Outrigger (Kapalua) and Honua
        Kai through a third party, Perfect Privacy, LLC.
   19
                                  ,fJ..      Registrant Contact
   20
                                 'l>me:                Outrigp< Hotels H>-vali

                                 r>;)ln!utloo;         Outrlue< Hotes H~NJ/i
   21
                                 Strc«:                237SKuhloA'""'°
                                 Cltv.                 Honolul.J
   22                            5~Ie--                HI
                                 Pthr.11(~·            9681S·2992
   23                            C"ll;:r.u·r           us
                                 l 'hM!-:               ·l.eo69'll6tSS1
   24                            ....,                 • t0069216901

                                 f.n'.;>li             tw.1tM1t.er~triuer.com
   25

   26

   27
   28


                                                                          26
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 28 of 33                  PageID #: 28




    1                            ,~, Registrant Contact

                                 Na<oo:           PERFECT PRIVAC."Y. llC
    2
                                 Citv:            J.acks.onvllle
    3                            State:           Fl


    4                                             us
                                 Phone:           •1.5707088700

    5                                     ,   __ - - - - - - - - - - - - -
                                                    ,




    6   Having admitted control, you then claim that Outrigger "neither owns nor substantially
        controls" individual units and, thus, they are free of any ADA liability. This is incorrect.
    7
        28CFR§36.302(e) provides:
    8
        28CFRS36.302 Modifications in oolicies. oractices. or orocedures.
    9        (a) General. A public accommodation shall make reasonable modifications in
               policies, practices, or procedures, when the modifications are necessary to afford
   10          goods, services, facilities, privileges, advantages, or accommodations to
   11          individuals with disabilities, unless the public accommodation can demonstrate that
               making the modifications would fundamentally alter the nature of the goods,
   12          services, facilities, privileges, advantages, or accommodations.
               (b)
   13
               (c)
   14          (d)
               (e) (1) Reservations made by places of lodging. A public accommodation that
   15          owns, leases (or leases to), or operates a place of lodging shall, with respect to
   16          reservations made by any means, including by telephone, in-person, or through a
               third party-
   17                 (i)           Modify its policies, practices, or procedures to ensure that
                      individuals with disabilities can make reservations for accessible guest
   18
                      rooms during the same hours and in the same manner as individuals who do
   19                 not need accessible rooms;
                      (ii)         Identify and describe accessible features in the hotels and guest
   20                 rooms offered through its reservations service in enough detail to reasonably
   21                 permit individuals with disabilities to assess independently whether a given
                      hotel or guest room meets his or her accessibility needs;
   22                 (iii)        Ensure that accessible guest rooms are held for use by
                      individuals with disabilities until all other guest rooms of that type have been
   23
                      rented and the accessible room requested is the only remaining room of that
   24                 type;
                      (iv)         Reserve, upon request, accessible guest rooms or specific types
   25                 of guest rooms and ensure that the guest rooms requested are blocked and
                      removed from all reservations systems; and
   26
                      (v)          Guarantee that the specific accessible guest room reserved
   27                 through its reservations service is held for the reserving customer, regardless
                      of whether a specific room is held in response to reservations made by
   28                 others.


                                                                   27
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 29 of 33                  PageID #: 29




    1              (2) Exception. The requirements in paragraphs (iii), (iv), and (v) of this
                   section do not apply to reservations for individual guest rooms or other units not
    2              owned or substantially controlled by the entity that owns, leases, or operates the
    3              overall facility.
               (3) Compliance date. The requirements in this section will apply to reservations
    4          made on or after March 15, 2012.
    5
        302(e) is a Catch-22 by design and foresight: When a public accommodation makes a
    6   representation of accessibility in order to comply with 302(e ), it must do so accurately and
        truthfully lest it exposes itself to a claim for misrepresentation. In order to avoid double
    7   jeopardy, a few lodging websites simply state that the hotel is not completely ADA
    8   compliant thus exposing itself to a claim by admission. I am waiting for the right case to
        test these theories.
    9
        The official Guidance to the regulation sets forth the scope of what regulators anticipated
   10
        being required to comply with 28 C.F.R. §36.302(e):
   11
               Because of the wide variations in the level of accessibility that travelers will
   12          encounter, the Department cannot specify what information must be
   13          included in every instance. For hotels that were built in compliance with the
               1991 Standards, it may be sufficient to specify that the hotel is accessible
   14          and, for each accessible room, to describe the general type of room (e.g.,
               deluxe executive suite), the size and number of beds (e.g., two queen beds),
   15
               the type of accessible bathing facility (e.g., roll-in shower), and
   16          communications features available in the room (e.g., alarms and visual
               notification devices). Based on that information, many individuals with
   17          disabilities will be comfortable making reservations. For older hotels with
   18          limited accessibility features, information about the hotel should include, at
               a minimum, information about accessible entrances to the hotel, the path of
   19          travel to guest check-in and other essential services, and the accessible route
               to the accessible room or rooms. In addition to the room information
   20
               described above, these hotels should provide information about important
   21          features that do not comply with the 1991 Standards. For example, if the
               door to the "accessible" room or bathroom is narrower than required, this
   22          information should be included (e.g., door to guest room measures 30 inches
   23          clear). This width may not meet current standards but may be adequate for
               some wheelchair users who use narrower chairs. In many cases, older hotels
   24          provide services through alternatives to barrier removal, for example, by
               providing check-in or concierge services at a different, accessible location.
   25
   26   According to the United States Department of Justice, "[t]o the extent a hotel or other place
        of lodging makes available such rooms and information to a third-party reservation
   27   provider, but the third party fails to provide the information or rooms to people with
   28   disabilities in accordance with this section, the hotel or other place of lodging will not be
        responsible." See U.S. Dept. of Justice, Am. With Disabilities Act Title III Regulations,

                                                  28
.   . Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 30 of 33                PageID #: 30




         1   Nondiscrimination on the Basis of Disability by Public Accommodations and m
             Commercial Facilities, at p. 99 (Sep. 15, 2010).
         2
         3   You omit to discuss the salient issue relating to daily damages under the Hawai'i's Chapter
             489, Part I which provides for damages in the sum of $1,000.00 per violation. As for the
         4   duration and frequency of damages, please refer Botosan v. Fitzhugh, 13 F. Supp.2nd 1047
             (1998) (quoted with approval in Lentini v. California Center for the Arts, 370 F.3d 837
         5
             (9th Cir. 2004) where the Court explained that deterrence to visit a non-compliant facility
         6   is a daily occurrence entitled Plaintiff to daily statutory damages. In Lentini, the court
             stated:
         7
         8          The district court found that, "[b]etween January 13, 1999 and February 16,
                    1999, Lentini was deterred from attending seven (7) performances at the
         9          Center." Under California Civil Code§ 52, a court can award actual damages
                    and an amount up to three times the actual damages for a violation of the
        10
                    Unruh Act, "but in no case less than [$1,000] .... "Cal. Civ. Code§ 52(a);
        11          cf. id., historical and statutory notes (indicating that in 2001 the statutory
                    minimum was increased from $1,000 to $4,000). Following Botosan v.
        12          Fitzhugh, 13 F. Supp. 2d 1047, 1051-52 (S.D. Cal. 1998), which held that
        13          this damages provision applies to each incident of deterrence, the district
                    court awarded Lentini $7,000 based on the statutory minimum of$1,000 for
        14          each of the performances Lentini was deterred from attending as a result of
                    the appellants' discrimination.
        15
        16   See alsoArnoldv. United Artists Theatre Cir.. Inc .. 866 F.Supp. 433, 439 CN.D.Cal.1994):

        17         The Court has concluded that the statutory language of§ 54.1 and § 51, and
        18         the California case law interpreting it, are inconclusive as to whether a cause
                   of action for damages exists under these statutes for incidents of deterrence.
        19         Failing to recognize deterrence based damage claims under§ 54.3 and§ 52
                   would significantly reduce the incentives for compliance with the disability
        20
                   access requirements of these laws. Since California courts have held that the
        21         California disability access laws manifest an intent on the part of the
                   legislature that they be interpreted in a manner that maximizes incentives for
        22         compliance, see Donald [v. Cafe Royale, Inc., 266 Cal. Rptr. 804 (1st
        23         Dist.1990)], 266 Cal. Rptr. at 808-11, the Court concludes that application
                   of this canon of construction requires that § 54.1 and § 51, and their
        24         respective damages provisions,§ 54.3 and§ 52, be interpreted as extending
                   to claims based on incidents of deterrence. The Court therefore holds that
        25
                   where a plaintiff can prove that violations of applicable California disability
        26         access standards deterred her on a particular occasion from attempting to
                   attend a place of public accommodation, that plaintiff states a claim for relief
        27         under California Civil Code § 54.1 and § 51 and, in particular, for damages,
        28         under § 54.3 and § 52.



                                                      29
. .Case 1:19-cv-00077-SOM-KJM       Document 1 Filed 02/13/19 Page 31 of 33          PageID #: 31




           Whi le Botosan is based on Califo rn ia ' s Unruh Civil Rights Act. it is equally applicable
           through the 9111 Circuit, including Hawaii .
       2
       3   We do not feel that litigation is the best method of assuring integration. Although we are
           not averse to litigation, we believe that providing appropriate courtesy notice, as we have
       4   done, leads to a better, private resolution. Therefore, we propose:
       5
       6
       7

       8
       9
      10
      11

      12

      13
      14
      15
                                                     Sincerely,
      16                                                 ~~==-
      17                                             Peter Strojnik
      18
           Encls. ADA Due Di ligence Reports
      19
      20
      21

      22
      23
      24
      25
      26
      27
      28


                                                    30
.   •.   Case
         ) ""'
               1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 32 of 33                                 PageID #: 32




              1                                               ADDENDUME

             2
             3                                   .MARR JONES &WANG
                                                         A UMITl!I) LtA8U.. 1Y U.W l'AATUilll&HIP


             4                                            Labor tand £1nplayment Law

              5
                                                                February 8, 20 J9
             6
              7
                     Via E-mail (ps@strojnilc.com)
              8
                     Mr. Peter Strojnik
              9      2375 East Camelback Road, Suite 600
                     Phoenix, Ariwna 85016
             10
                                    Re: Honua Kai Resort & SpaJKapalua Villas Maui
             11
                     Dear Mr. Strojnik:
             12
                             In response to your February 5, 2019 letter, your printout of infonnotion from the internet
             13      is neither an investigation nor constitutes due diligence. Since you do not dispute tbat the units
                     owned by individuals are not subject to ADA accessibility requirements, there is no infonnation
             14      to identify on a website.

             15              We reject your interpretation of Hawaii law in this situation. Cases interpreting California
                     law are nnJ applicable outside of California mu~h less in Hawaii.
             16
                            Yuur lt:U\:r \:uufinns whul we suspected w11S your ultimate motive; to obtain a quick
             17      monetary payment. We reject your offer. You r.eed not communicate with us again. We believe
                     the State Bar of Arizona will be interested to learn of your attempt to continue in other states the
                     same activity that you were suspended for in Arizona.
             18
                                                                       Very truly yours,
             19
             20                                                      h.LUrflL---
                                                                       Richard M. Rand
             21
                     RMR:tvf
             22
             23
             24
             25
             26
             27
             28


                                                                      31
Case 1:19-cv-00077-SOM-KJM Document 1 Filed 02/13/19 Page 33 of 33                                     PageID #: 33




    1                                               ADDENDUMF

    2   2/11'2019                                          S1rainik P.C•. Mall· l.etts'

    3
                                                                                          Peter Strojmlt <ps@strojnfk.com>
    4
    5     Letter
          1 rm:asage

    6     Rlc;har1:1 Rand <RRand@manjones..com>                                                  Fri, .Feb 8. 2019 at 7:25 PM
          To: -ps@strojnik.com• <ps@strojnik.com>
    7
            Mr. StroJnik:
    8
    9
            Attached ls our response to your most recent letter. No reply Is necessaJY.
   10
   11       Rid1ard Rand

   12
            Rldiard Al Ran( Esg.
   13       Marr Jones & Wang
            A Limited Llabillty Law Parl11ershlp
   14       Pauohi Tower
            1003 Bishop Street Suite 1500
            Honolulu, Hawaii 96813
   15       Telephone: (808) 536-4900
            Facsimile: (808) 536-6700
   16       EmaJL· rran!!.@marrlones.com
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                         32
